                                 Case 1:16-cv-02145-JEJ-MCC Document 307 Filed 01/14/20 Page 1 of 1




                                        January 14, 2020
1156 15th Street NW, Suite 1020
Washington, DC 20005
(202) 795-9300 | www.rcfp.org
Bruce D. Brown, Executive Director
                                        Honorable Martin C. Carlson
                                        Ronald Reagan Federal Bldg. & U.S. Courthouse
STEERING COMMITTEE
STEPHEN J. ADLER
                                        228 Walnut Street
Reuters
J. SCOTT APPLEWHITE
                                        Harrisburg, PA 17101
The Associated Press
WOLF BLITZER
CNN                                     RE: Julie Ellen Wartluft, et al., v. The Milton Hershey School and School Trust, et
DAVID BOARDMAN
Temple University
                                        al., Case No. 1-16-cv-02145-JEJ
MASSIMO CALABRESI
Time Magazine
MANNY GARCIA                            Dear Judge Carlson,
USA Today Network
EMILIO GARCIA-RUIZ
The Washington Post
JOSH GERSTEIN
                                        I am counsel for Intervenor The Philadelphia Inquirer, PBC (“The Inquirer”), in the
Politico                                above-captioned case. The Inquirer respectfully requests a telephonic conference to
ALEX GIBNEY
Jigsaw Productions                      inform the Court of a separate motion to intervene and unseal judicial records filed by
SUSAN GOLDBERG
National Geographic                     The Inquirer in a matter currently pending before the Commonwealth Court of
JAMES GRIMALDI
The Wall Street Journal
                                        Pennsylvania, as it relates to the motions to intervene and unseal judicial records in
LAURA HANDMAN                           the above-captioned case, as well as Adam Dobson v. The Milton Hershey School and
Davis Wright Tremaine
DIEGO IBARGÜEN                          School Trust, et al., Case No. 1:16-cv-01958-JEJ.
Hearst
KAREN KAISER
The Associated Press                    I have conferred with counsel for all parties regarding this request. Counsel for all
DAVID LAUTER
Los Angeles Times                       parties have indicated their availability next Wednesday, January 22 and Thursday,
DAHLIA LITHWICK
Slate                                   January 23. I respectfully request that the Court set the requested telephonic
MARGARET LOW
The Atlantic
                                        conference on either day at its convenience.
JANE MAYER
The New Yorker
COLLEEN MCCAIN NELSON
The McClatchy Company
MAGGIE MULVIHILL
Boston University
JAMES NEFF
                                                                                     Respectfully submitted,
The Philadelphia Inquirer
NORMAN PEARLSTINE
The Los Angeles Times                                                                /s/ Katie Townsend
CAROL ROSENBERG
The New York Times
                                                                                     Katie Townsend
THOMAS C. RUBIN
Quinn Emmanuel
                                                                                     Counsel for Intervenor
CHARLIE SAVAGE                                                                       The Philadelphia Inquirer, PBC
The New York Times
BEN SMITH
BuzzFeed
JENNIFER SONDAG
Bloomberg News
ADAM SYMSON
The E.W. Scripps Company
PIERRE THOMAS
ABC News
SAUNDRA TORRY
Freelance
VICKIE WALTON-JAMES
NPR
JUDY WOODRUFF
PBS/The NewsHour

SENIOR ADVISORS
CHIP BOK
Creators Syndicate
JOHN C. HENRY
Freelance
TONY MAURO
National Law Journal, ret.
ANDREA MITCHELL
NBC News
PAUL STEIGER
ProPublica

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